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                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 DAVID NEWMAN, Individually and for                  Case No. 4:20-cv-01636
 Others Similarly Situated,

                  Plaintiffs,
 v.                                                  Jury Trial Demanded

 NES GLOBAL LLC,
                                                     FLSA Collective Action
                  Defendant.


                     ORIGINAL COLLECTIVE ACTION COMPLAINT

                                              SUMMARY

       1.      NES Global LLC (NES) has failed to pay David Newman (Newman), and other

workers like him, overtime as required by the Fair Labor Standards Act (FLSA).

       2.      NES paid Newman and its other Putative Class Members shift differential during

certain shifts. These payments represented compensation that is primarily for the benefit and

convenience of Newman and NES’s other hourly employees. The FLSA requires this type of

compensation be included in the calculation of Putative Class Members’ regular rates for overtime

purposes. Because the shift differential was not included in calculating these workers’ regular rates of

pay, NES’s Putative Class Members were not properly compensated at a rate of one-and-one-half

times their regular rates–as defined by the FLSA–for all hours worked in excess of 40 hours in a single

workweek.

       3.      Newman brings this collective action to recover unpaid overtime and other damages.

                                     JURISDICTION AND VENUE

       4.      This Court has original subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action involves a federal question under the FLSA. 29 U.S.C. § 216(b).
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        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a substantial

portion of the events giving rise to this action occurred in this District.

        6.      NES is headquartered in this District in Houston, Texas.

                                             THE PARTIES

        7.      Newman was an hourly employee of NES.

        8.      Newman worked for NES from approximately January 2019 until April 2019.

        9.      His consent to be a party plaintiff is attached as Exhibit A.

        10.     Newman brings this action on behalf of himself and all other similarly situated Putative

Class Members under the collective action provisions of the FLSA. See 29 U.S.C. §216(b). NES

subjected the Putative Class to the same FLSA violations as Newman, and such a class is properly

defined as:

                All hourly employees who worked for, or on behalf of, NES in the
                United States who were paid a shift differential in the past three
                (3) years. (“Putative Class Members”).

        11.     The identities of the Putative Class Members can be readily ascertained from NES’s

records.

        12.     NES is an international corporation with its U.S. headquarters in Houston, Texas.

        13.     NES may be served by serving its registered agent: Paul Kelly at One Memorial City

Plaza, 800 Gessner Road, Suite 310, Houston, Texas 77024.

                                    COVERAGE UNDER THE FLSA

        14.     At all relevant times, NES was an employer within the meaning of the Section 3(d) of

the FLSA, 29 U.S.C. § 203(d).

        15.     At all relevant times, NES was an enterprise within the meaning of Section 3(r) of the

FLSA, 29 U.S.C. § 203(r).




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       16.     At all relevant times, NES was an enterprise engaged in commerce or in the production

of goods for commerce within the meaning of Section 3(s)(1) of the FLSA, 29 U.S.C. § 203(s)(1),

because it had employees engaged in commerce or in the production of goods for commerce, or

employees handling, selling, or otherwise working on goods or materials – such as tools, cell phones,

and personal protective equipment - that have been moved in or produced for commerce.

       17.     At all relevant times, NES had an annual gross volume of sales made in excess of

$1,000,000.

       18.     At all relevant times, Newman and the Putative Class Members (defined below) were

engaged in commerce or in the production of goods for commerce.

                                            THE FACTS

       19.     NES is a staffing company that provides recruitment services to the oil and gas

industry, among others. See generally https://www.NES.com/uoss (Last visited January 9, 2020).

       20.     Newman worked for NES from approximately January 2019 until April 2019.

       21.     Newman performed work for NES at its customer’s (Duke Energy) Asheville

Combined Cycle Station in Asheville, North Carolina.

       22.     Newman was an Ironworker Forman for NES.

       23.     As an Ironworker Forman, Newman assisted with the construction of warehouses,

observing the quality of construction on site, and operating machinery.

       24.     Newman reported the hours he worked to NES on a regular basis.

       25.     NES typically scheduled Newman and the Putative Class Members to work for 10- to

12-hour shifts for up to 7 days a week for weeks at a time.

       26.     As a result, Newman worked anywhere from 50 to 70 hours in a typical workweek (far

in excess of the overtime threshold of 40 hours).

       27.     NES paid Newman a $2/hour shift differential when he worked the night shift.


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        28.    However, NES did not include Newman’s shift differential in his regular rate of pay

for purposes of calculating his time-and-a-half overtime rate.




        29.    Because the shift differential does not fall within any of the applicable exceptions to

inclusion within the regular rate of pay, this payment was a wage that should have been included in

Newman’s time-and-a-half overtime rate.

        30.    As such, Newman and the Putative Class Members were not properly compensated as

one-and-one-half times his regular rate – as defined by the FLSA – for all overtime worked in excess

of 40 hours in a single workweek.

        31.    NES’s failure to pay overtime to these workers was, and is, a willful violation of the

FLSA.

                            FLSA COLLECTIVE ACTION ALLEGATIONS

        32.    Newman realleges and incorporates by reference all allegations in preceding

paragraphs.

        33.    At all relevant times, NES was an enterprise engaged in interstate commerce and/or

the production of goods for commerce, within the meaning of the FLSA.

        34.    NES employed Newman and the Putative Class Members.

        35.    NES’s pay policy denied Newman and the Putative Class Members overtime

compensation at the legal overtime rates required by the FLSA.



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        36.     Specifically, NES violated, and is violating, Section 7 of the FLSA by failing to include

the shift differential in the regular rate calculation for overtime purposes.

        37.     As such, NES has failed to properly pay Newman and the Putative Class Members

overtime wages at one-and-one-half times their regular rates for all hours worked in excess of 40 hours

per workweek.

        38.     NES’s failure to pay Newman and the Putative Class Members proper overtime

violated the FLSA.

        39.     NES knew, or showed reckless disregard for whether, its conduct violated the FLSA.

        40.     Newman and the Putative Class Members are entitled to recover their unpaid overtime

compensation, an equal amount in liquidated damages, reasonable attorneys’ fees, costs, and expenses

of this action from NES.

                                  COLLECTIVE CAUSES OF ACTION

        41.     Newman incorporates all previous paragraphs and alleges that the illegal pay practices

NES imposed on Newman were likewise imposed on the Putative Class Members.

        42.     Numerous individuals were victimized by this pattern, practice, and policy which is in

willful violation of the FLSA.

        43.     Many of these employees have worked with Newman and the Putative Class Members

have reported that their hourly regular rate did not include the shift differential for overtime purposes.

Even if their precise job titles may differ, the Putative Class Members are all victims of NES’s unlawful

compensation practices and are similarly situated to Newman in terms of relevant job duties, pay

provisions, and employment practices.

        44.     Newman and the Putative Class Members receive the shift differential for their own

benefits, but NES does not include these payments in the calculation of regular rates for overtime

purposes.


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        45.     The Putative Class Members regularly work or have worked in excess of 40 hours

during a workweek.

        46.     The shift differential does not fall within the few and narrow regular rate exclusions

of the FLSA.

        47.     NES’s failure to include the shift differential into the regular rate calculation for

overtime purposes results from generally applicable policies or practices and does not depend on

personal circumstances of the Putative Class Members.

        48.     NES’s failure to pay wages and overtime compensation at the rates required by the

FLSA results from generally applicable, systematic policies, and practices which are not dependent on

the personal circumstances of the Putative Class Members.

        49.     The specific job titles or precise job locations of the various Putative Class Members

does not prevent collective treatment.

        50.     A collective action, such as the instant one, is superior to other available means for fair

and efficient adjudication of the lawsuit.

        51.     Although the issue of damages may be somewhat individual in character, there is no

detraction from the common nucleus of liability facts. Therefore, this issue does not preclude

collective action treatment.

                                             JURY DEMAND

        52.     Newman demands a trial by jury

                                                PRAYER

        53.     Newman prays for relief as follows:

                a.      An Order designating the Putative Class as a collective action and permitting

                        the issuance of a notice pursuant to 29 U.S.C. § 216(b) to all Putative Class




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            Members with instructions to permit them to assert timely FLSA claims in this

            action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b);

      b.    For an Order pursuant to Section 16(b) of the FLSA finding NES liable for

            unpaid back wages due to Newman and the Putative Class Members for

            liquidated damages equal in amount to their unpaid compensation;

      c.    For an Order awarding attorneys’ fees, costs and pre- and post-judgment

            interest; and

      d.    For an Order granting such other and further relief as may be necessary and

            appropriate.


                                   Respectfully submitted,

                                   By: /s/ Michael A. Josephson______
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                                       AND




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